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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA
Plaintiff
vs                                           CRIMINAL 08-0281CCC
1) ISMAEL VAZQUEZ-LARRAURI, a/k/a Tara,
a/k/a Junito, a/k/a El Gordo
2) VICTOR RODRIGUEZ-RIVERA, a/k/a Vitín
3) HIRAM TORRES-AVILES, a/k/a Bizcocho
4) ADALBERTO LEON-COLLAZO, a/k/a Berto
5) LUIS CARTAGENA-CARRASQUILLO,
a/k/a Luis Moco
6) JULIO MORALES-VAZQUEZ, a/k/a Julio
Quilla
7) JOSE RIOS-HERNANDEZ, a/k/a El Gordo
de la Vega, a/k/a Tati Ríos
8) JOSE O. VAZQUEZ-FIGUEROA,
a/k/a Chopa
9) NELSON CARDONA-SANTIAGO
10) FELIPE LOPEZ-DE LA CRUZ
11) BRENDA RODRIGUEZ-MARQUEZ,
a/k/a La Punky
12) JOSE RICARDO BURGOS-RESTO,
a/k/a Ricky Burgos
13) JAIRO VELAZQUEZ-RIVERA
14) FERNANDO GONZALEZ-COLON,
a/k/a Naldin
15) HECTOR DIAZ-NOGUERAS, a/k/a Chico
16) EDWIN SANTOS-MARTINEZ, a/k/a Chino,
a/k/a Chinito
17) LUIS ROSARIO-RIVERA, a/k/a Luis el
Negro
18) ROBERTO ORTIZ-RODRIGUEZ,
a/k/a Robert el Viejo
19) ELIEZER BURGOS-TORRES, a/k/a Eli
20) JOSE JIMENEZ-ROBLES, a/k/a Joy
21) ANGEL IGARAVIDEZ-GONZALEZ,
a/k/a Bebo
22) LEONARDO RIVERA-VICENTE, a/k/a Naldi
23) HECTOR L. VAZQUEZ-NIEVES,
a/k/a Hectitor
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24) VICTOR SUAREZ-LAGO, a/k/a Pakay
25) ABRAHAM GARCIA-RIVERA, a/k/a Juni,
a/k/a Juni Morrina
26) ALEXANDER ARROYO-GONZALEZ,
a/k/a Alex Colchoneta
27) JOSE L. GONZALEZ-RIVERA, a/k/a Cano
Diente
28) CARLOS O. RIVERA-RODRIGUEZ,
a/k/a Carlos Omar
29) EFRAIN SANTIAGO-BURGOS,
a/k/a Miyagui
30) NOELIA LOPEZ-ORTIZ
31) EUCLIDES DE JESUS-ROSA, a/k/a Clidu,
a/k/a El Viejo de Coamo
32) MARLYN MARCANO-LOPEZ
33) ESTEBAN O. SERATE-SANTIAGO,
a/k/a Omi el Negro
34) JASON JAUME-SUAREZ, a/k/a Jason
35) JAVIER CASTRO-SUAREZ, a/k/a Javi
36) OMAR RODRIGUEZ-ARROYO, a/k/a Omi
Planicie
37) ALEX M. TRINIDAD, a/k/a Alex
38) CARLOS A. RIVERA-MALAVE, a/k/a La
Ponca
39) JUAN C. SANTEL-MELENDEZ,
a/k/a Melaza
40) RAYMOND RIVERA-RIVERA
41) CHRISTIAN ORTIZ-MELENDEZ
42) SERGIO RODRIGUEZ-MENDOZA
43) CARLOS SUAREZ-VEGA, a/k/a Bribón
44) MIGUEL VELEZ-BONILLA, a/k/a Cano,
Cachete
45) JOSE R. ORTIZ-RIVERA, a/k/a Pito
46) JOSE LUIS LOPEZ-MENDEZ, a/k/a Ñoño,
a/k/a Kiko
47) ENRIQUE RODRIGUEZ-MARQUEZ
48) CARLOS ROSARIO-ROSARIO, a/k/a Pinto
49) ALEX ORTIZ-CARABALLO, a/k/a Bocudo,
a/k/a Mocudo, a/k/a Flaco
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 50) GERARDO MARCANO-RIVERA,
 a/k/a Bebe
 51) ISMAEL OCASIO-LAGO, a/k/a Ismaelito,
 a/k/a Esquimalito
 52) WILLIAM VAZQUEZ-RIVERA, a/k/a Cabito
 53) ANGELICA DELGADO-VALDEZ,
 a/k/a Angie
 54) NELSON MARTINEZ-ROMAN
 55) HUMBERTO CARABALLO-RESTO,
 a/k/a Papo XXX
 56) RAMON FALCON-SANTOS, a/k/a Bebe
 57) OBED JIMENEZ-ROBLES
 58) ANGEL R. LAGO-CAMACHO, a/k/a Rafi
 59) JOVANNY SIERRA-ORTIZ
 60) ZANDY TORRES-MENDEZ
 61) ALEXIS LOPEZ-PEREZ, a/k/a Pamela
 62) JOSE BARRETO-LUGO
 63) JOSE A. ORTIZ-RIOS, a/k/a Papo Lover
 64) BENJAMIN CLAUDIO-COTTO, a/k/a Puchi
 65) OSVALDO IRIZARRY-RIVERA,
 a/k/a El Gringo
 66) ERIC A. RODRIGUEZ-MARTINEZ,
 a/k/a Testin
 67) DIGNA VIOLETA-LARRAURI
 68) VANESSA RIVERA-MELENDEZ,
 a/k/a Vanessa Black Angus
 69) NELIDA ORTIZ
 70) RICARDO ORTIZ-RIVERA, a/k/a Deo
 71) YARITZA MELENDEZ-FUENTES
 Defendants



                   PROVISIONAL SENTENCE OF DEFENDANT
           [36] OMAR RODRíGUEZ-ARROYO UNDER 18 U.S.C. § 4244(d)

      Having considered the Forensic Evaluation Report of defendant [36] Omar
Rodríguez-Arroyo (docket entry 2980), which has not been objected by either defendant or
the United States, and neither party having requested an evidentiary hearing on the issue
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of defendant’s current mental condition despite the Court’s November 15, 2012 Order
(docket entry 2995) which allowed them to do so if deemed necessary, the Court FINDS by
a preponderance of the evidence, based on said Forensic Evaluation Report, that defendant
Rodríguez-Arroyo is presently suffering from a mental disease or defect and that, in lieu of
being sentenced to imprisonment, he shall be committed to a suitable facility for care of
treatment. Accordingly, pursuant to 18 U.S.C. § 4244(d), defendant Rodríguez-Arroyo is
hereby committed to the custody of the Attorney General, who shall hospitalize him for care
or treatment in a suitable facility. This commitment constitutes a provisional sentence of
imprisonment of 80 years, which is the maximum term authorized by law for the offense for
which defendant was found guilty.
       Pursuant to 18 U.S.C. § 4244(e), if at any time the director of the facility where
defendant will be hospitalized determines that defendant has recovered from his mental
disease or defect to such an extent that he is no longer in need of custody for care or
treatment in such a facility, he shall promptly file a certificate to that effect with the Clerk of
the Court, who shall immediately send a copy of that certificate to the defendant’s counsel
and to the attorney for the government. Upon the filing of said certificate, if the provisional
sentence imposed above has not yet expired, the Court shall immediately proceed to the
final sentencing of defendant.
       SO ORDERED.
       At San Juan, Puerto Rico, on January 31, 2013.



                                                    S/CARMEN CONSUELO CEREZO
                                                    United States District Judge
